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May 23, 2023

VIA ECF

Hon. Lorna G. Schofield
United States District Court
Southern District of New York
500 Pearl Street
New York, New York 10007

RE:    Wentworth Management Services, LLC v. Beckingham et al
       United States District Court for the Southern District of New York, Case No. 1:23-cv-
       02660-LGS

Dear Judge Schofield:

         In accordance with the Court's May 18, 2023 Order, the parties respectfully submit this
joint status letter summarizing the parties' respective positions on the proposed case management
plan. Due to divergent views of the optimal case management plan, the parties were unable to
reach an agreement on a joint case management plan.

        Plaintiff’s proposed case management plan is attached as Exhibit 1. Plaintiff does not
believe that there are any “unique complexities” or “exceptional circumstances” that require a
fact discovery deadline longer than 120 days. Plaintiff’s complaint seeks nothing but declaratory
judgment that Plaintiff is not a “control person” of non-party Cabot Lodge Securities LLC, and a
permanent injunction staying both arbitrations that Defendants have threatened to bring against
Plaintiff. Therefore, Plaintiff believes that this is a straightforward, narrow dispute in which
nearly all of the relevant discovery would lie with Plaintiffs, not with Defendants, and which
does not even require discovery on damages, since Plaintiff seeks no damages.

        The Defendants’ proposed case management plan is attached as Exhibit 2. Defendants
believe that there are unique complexities or exceptional circumstances in this case that warrant
having the fact discovery completion deadline more than 120 days from entry of the case
management order. These unique complexities or exceptional circumstances include, but are not
limited to:

       (i)     the jurisdictional issues presented;
       (ii)    the number of parties involved (more than 50);
       (iii)   the number of entities, individuals, or parties that discovery could be directed to
               (more than 60);
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       (iv)   the size of the relief at stake (millions of dollars);
       (v)    the lack of urgency given the fact that the arbitrations have no set hearing date;
       (vi)   the mootness of the injunctive relief sought;
       (vii)  the ability of Wentworth to enforce a declaratory judgment or injunctive relief in
              other judicial districts; and
       (viii) the likelihood that Defendants will prevail on their motion to dismiss.

        In light of the foregoing, unless discovery is limited to exclude any fact discovery from
Defendants, it is unduly burdensome on the Defendants to agree to complete discovery within
120 days of the entry of a case management order. Defendants intend to move to dismiss this
case in its entirety, and therefore believe that staying discovery until a ruling on the motion to
dismiss is the best way to conserve the resources of all parties and the Court.

        While both parties expressed a willingness to compromise, the parties will look to the
Court on how to best resolve this impasse on case management in light of the issues presented
herein.


                                                          /s/ Joe Wojciechowski
                                                          Counsel for Defendants
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                EXHIBIT 1
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------------X
  Wentworth Management Services, LLC                                    :
                                                                        :
                                                                        :
                                              Plaintiff(s),             :    __       2660 (LGS)
                                                                             23 Civ. _____
                            -v-                                         :
                                                                        :      CIVIL CASE
    Paul Beckingham et al.
                                                                        :   MANAGEMENT PLAN
                                              Defendant(s).             :    AND SCHEDULING
                                                                        :         ORDER
 ---------------------------------------------------------------------- X

LORNA G. SCHOFIELD, United States District Judge:

        This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
Civ. P. 26(f)(3).

1.      All parties [consent ______ / do not consent ______]
                                                        X     to conducting all further
        proceedings before a United States Magistrate Judge, including motions and trial. See
        28 U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
        consequences. [If all parties consent, the remaining paragraphs need not be completed.]

2.                                            X
        The parties [have ______ / have not ______] conferred pursuant to Fed. R. Civ. P. 26(f).

3.      This case is governed by one of the following sets of rules, and the parties’ proposed
        dates in this order have been adjusted accordingly.

        a.       An employment case governed by the Initial Discovery Protocols for Employment
                 cases? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                 [Yes ______ / No ______]

        b.       A case governed by Local Civil Rule 83.10, Plan for Certain § 1983 Cases
                 Against the City of New York? https://nysd.uscourts.gov/rules.
                 [Yes ______ / No ______]

        c.       A patent case subject to the Local Patent Rules and the Court’s Individual Rules?
                 https://nysd.uscourts.gov/rules and https://nysd.uscourts.gov/hon-lorna-g-
                 schofield
                 [Yes ______ / No ______]

        d.       A wage and hour case governed by Initial Discovery Protocols for Fair Labor
                 Standards Act? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                 [Yes ______/ No________]



                                                                                   Revised January 3, 2023
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4.   Alternative Dispute Resolution/Settlement

     a.                                                      X
            Settlement discussions [have ______ / have not ______] taken place.

     b.     Counsel for the parties have discussed an informal exchange of information in aid
            of early settlement and have agreed to exchange the following:
            __________________________________________________________________
            __________________________________________________________________
            __________________________________________________________________

     c.     Counsel for the parties have discussed the use of the following alternate dispute
            resolution mechanisms for use in this case: (i) a settlement conference before a
            Magistrate Judge; (ii) participation in the District’s Mediation Program; and (iii)
            retention of a private mediator. Counsel for the parties propose the following
            alternate dispute resolution mechanism for this case:
              The Parties propose a settlement conference before Magistrate Judge Willis.
            __________________________________________________________________
            __________________________________________________________________
            __________________________________________________________________

     d.     Counsel for the parties recommend that the alternate dispute resolution
            mechanism designated in paragraph 4(c) be employed at the following point in the
            case (e.g., within the next 60 days; after the deposition of plaintiff is completed
            (specify date); after the close of fact discovery):
            __________________________________________________________________
                    After the close of fact discovery.
            __________________________________________________________________
            __________________________________________________________________

     e.     The use of any alternative dispute resolution mechanism does not stay or
            modify any date in this Order.

5.                                              6/15/2023 without leave of Court.
     No additional parties may be joined after __________

6.                                                                6/15/2023
     Amended pleadings may be filed without leave of Court until ______________.

7.   Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
     __________
       21           days from the date of this Order. [Within 14 days of the parties’ Rule 26(f)
     conference, absent exceptional circumstances.]

8.   Fact Discovery

     a.     All fact discovery shall be completed no later than ______________________.
                                                                 September 21, 2023
            [A period not to exceed 120 days, unless the Court finds that the case presents
            unique complexities or other exceptional circumstances.]

     b.     Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall
            be served by ______________________.
                              June 9, 2023


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      c.                                                    July 14, 2023
               Responsive documents shall be produced by _________________.
               Do the parties anticipate e-discovery? [Yes ______
                                                            X      / No ______]

      d.       Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
                     June 9, 2023
               ______________________.

      e.       Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
               ______________________.
                  September 14, 2023

      f.       Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
               ______________________.
                 September 21, 2023

      g.       Any of the deadlines in paragraphs 8(b) through 8(f) may be extended by the
               written consent of all parties without application to the Court, provided that
               all fact discovery is completed by the date set forth in paragraph 8(a).

9.    Expert Discovery [if applicable]

      a.       Anticipated types of experts if any:
                 Plaintiff anticipates calling an expert witness to testifying regarding
               _________________________________________________________________
               _________________________________________________________________
                 broker-dealer ownership structures.
               _________________________________________________________________

      b.       If you have identified types of experts in question 9(a), all expert discovery shall
                                             Nov. 9, 2023
               be completed no later than ______________________.
               [Within 45 days from the date in paragraph 8(a), i.e., the completion of all fact
               discovery, absent exceptional circumstances.] Omit if you have not identified
               types of experts.

      c.       If you have identified types of experts in question 9(a), by _________
                                                                             8/18/2023 [no later
               than one month before the date in paragraph 8(a), i.e., the completion of all fact
               discovery] the parties shall meet and confer on a schedule for expert disclosures,
               including reports, production of underlying documents and depositions, provided
               that (i) expert report(s) of the party with the burden of proof shall be due before
               those of the opposing party’s expert(s); and (ii) all expert discovery shall be
               completed by the date set forth in paragraph 9(b).

10.                  X
      This case [is ______ / is not ______] to be tried to a jury.

11.   Counsel for the parties have conferred and their present best estimate of the length of trial
      is ______________________.
               10 days




                                                 3
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12.    Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
       Fed. R. Civ. P. 26(f)(3), are set forth below:
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________

13.    Status Letters and Conferences

       a.     By ___________
                   7/21/2023 [60 days after the commencement of fact discovery], the parties
              shall submit a joint status letter, as outlined in Individual Rule III.D.3.

       b.     By ______________
                    10/5/2023        [14 days after the close of fact discovery], the parties shall
              submit a joint status letter, as outlined in Individual Rule III.D.3 and, in the event
              that they have not already been referred for settlement discussions, shall also
              advise the Court whether or not they request a referral for settlement discussions
              as provided in Paragraph 4(c) above.

       c.         10/5/2023
              On _______________         10
                                     at ______A.M. [usually 14 days after the close of all
              discovery], a pre-motion conference will be held for any anticipated dispositive
              motions, provided:

                   i. A party wishing to file a summary judgment or other dispositive motion
                      shall file a pre-motion letter at least two weeks before the conference and
                      in the form provided in the Court’s Individual Rule III.A.1. Any party
                      wishing to oppose shall file a responsive letter as provided in the same
                      Individual Rule. The motion will be discussed at the conference. To join
                      the conference, the parties shall call (888) 363-4749 and use Access Code
                      558-3333. The time of the conference is approximate, but the parties shall
                      be ready to proceed at that time.

                  ii. If no pre-motion letter is timely filed, this conference will be canceled
                      and the matter placed on the Court’s trial-ready calendar. The parties
                      will be notified of the assigned trial-ready date and the filing deadlines for
                      pretrial submissions. The parties are warned that any settlement
                      discussions will not stay pretrial deadlines or the trial date.

        This Order may not be modified or the dates herein extended, except as provided in
paragraph 8(g) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(g), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no less
than 2 business days prior to the expiration of the date sought to be extended.



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        Notwithstanding any other rules governing discovery or other deadlines, the parties shall
follow the deadlines set forth herein unless expressly ordered otherwise by the Court.

        The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c) and
13(a)-(c) into the Court’s calendar, and to schedule the conference under paragraph 13(c) as a
Pre-Motion Conference, even though the conference will be held by telephone.



       SO ORDERED.


Dated: _________________
       New York, New York
                                                      ____________________________________
                                                             LORNA G. SCHOFIELD
                                                            United States District Judge

Counsel for the Parties:
 Martin H. Kaplan
 Gusrae Kaplan Nusbaum PLLC
_________________________________                     _________________________________
 120 Wall Street, 25th Floor
 New York, NY 10005
_________________________________                     _________________________________
 (212) 269-1400
 mkaplan@gusraekaplan.com
_________________________________                     _________________________________




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                EXHIBIT 2
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
 -----------------------------------------------------------------------X
                                                                        :
                                                                        :
                                                                        :
                                              Plaintiff(s),             :    __ Civ. _____ (LGS)
                            -v-                                         :
                                                                        :      CIVIL CASE
                                                                        :   MANAGEMENT PLAN
                                              Defendant(s).             :    AND SCHEDULING
                                                                        :         ORDER
 ---------------------------------------------------------------------- X

LORNA G. SCHOFIELD, United States District Judge:

        This Civil Case Management Plan is submitted by the parties in accordance with Fed. R.
Civ. P. 26(f)(3).

1.                                                     X
        All parties [consent ______ / do not consent ______]  to conducting all further
        proceedings before a United States Magistrate Judge, including motions and trial. See
        28 U.S.C. § 636(c). The parties are free to withhold consent without adverse substantive
        consequences. [If all parties consent, the remaining paragraphs need not be completed.]

2.                                            X
        The parties [have ______ / have not ______] conferred pursuant to Fed. R. Civ. P. 26(f).

3.      This case is governed by one of the following sets of rules, and the parties’ proposed
        dates in this order have been adjusted accordingly.

        a.       An employment case governed by the Initial Discovery Protocols for Employment
                 cases? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                                     X
                 [Yes ______ / No ______]

        b.       A case governed by Local Civil Rule 83.10, Plan for Certain § 1983 Cases
                 Against the City of New York? https://nysd.uscourts.gov/rules.
                                      X
                 [Yes ______ / No ______]

        c.       A patent case subject to the Local Patent Rules and the Court’s Individual Rules?
                 https://nysd.uscourts.gov/rules and https://nysd.uscourts.gov/hon-lorna-g-
                 schofield
                                      X
                 [Yes ______ / No ______]

        d.       A wage and hour case governed by Initial Discovery Protocols for Fair Labor
                 Standards Act? https://nysd.uscourts.gov/hon-lorna-g-schofield.
                                     X
                 [Yes ______/ No________]



                                                                                   Revised January 3, 2023
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4.   Alternative Dispute Resolution/Settlement

     a.                                                      X taken place.
            Settlement discussions [have ______ / have not _____]

     b.     Counsel for the parties have discussed an informal exchange of information in aid
            of early settlement and have agreed to exchange the following:
                   None.
            __________________________________________________________________
            __________________________________________________________________
            __________________________________________________________________

     c.     Counsel for the parties have discussed the use of the following alternate dispute
            resolution mechanisms for use in this case: (i) a settlement conference before a
            Magistrate Judge; (ii) participation in the District’s Mediation Program; and (iii)
            retention of a private mediator. Counsel for the parties propose the following
            alternate dispute resolution mechanism for this case:
            __________________________________________________________________
                Settlement conference before Magistrate Judge Willis
            __________________________________________________________________
            __________________________________________________________________

     d.     Counsel for the parties recommend that the alternate dispute resolution
            mechanism designated in paragraph 4(c) be employed at the following point in the
            case (e.g., within the next 60 days; after the deposition of plaintiff is completed
            (specify date); after the close of fact discovery):
            __________________________________________________________________
               Within the next 60 days
            __________________________________________________________________
            __________________________________________________________________

     e.     The use of any alternative dispute resolution mechanism does not stay or
            modify any date in this Order.

5.                                                6/15/23 without leave of Court.
     No additional parties may be joined after __________

6.   Amended pleadings may be filed without leave of Court until ______________.
                                                                   6/15/23

7.   Initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1) shall be completed no later than
     __________
      21            days from the date of this Order. [Within 14 days of the parties’ Rule 26(f)
     conference, absent exceptional circumstances.]

8.   Fact Discovery

     a.                                                           4/5/24
            All fact discovery shall be completed no later than ______________________.
            [A period not to exceed 120 days, unless the Court finds that the case presents
            unique complexities or other exceptional circumstances.]

     b.     Initial requests for production of documents pursuant to Fed. R. Civ. P. 34 shall
                             10/1/23
            be served by ______________________.


                                              2
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      c.                                                   11/1/23
             Responsive documents shall be produced by _________________.
             Do the parties anticipate e-discovery? [Yes ______
                                                          X      / No ______]

      d.     Interrogatories pursuant to Fed. R. Civ. P. 33 shall be served by
             ______________________.
               12/15/23

      e.     Depositions pursuant to Fed. R. Civ. P. 30, 31 shall be completed by
             ______________________.
               2/2/24

      f.     Requests to admit pursuant to Fed. R. Civ. P. 36 shall be served by
             ______________________.
               3/1/24

      g.     Any of the deadlines in paragraphs 8(b) through 8(f) may be extended by the
             written consent of all parties without application to the Court, provided that
             all fact discovery is completed by the date set forth in paragraph 8(a).

9.    Expert Discovery [if applicable]

      a.     Anticipated types of experts if any:
                Defendants reserve the right to call an expert to testify regarding
             _________________________________________________________________
                types of "control persons" in the securities industry
             _________________________________________________________________
             _________________________________________________________________

      b.     If you have identified types of experts in question 9(a), all expert discovery shall
             be completed no later than ______________________.
             [Within 45 days from the date in paragraph 8(a), i.e., the completion of all fact
             discovery, absent exceptional circumstances.] Omit if you have not identified
             types of experts.

      c.     If you have identified types of experts in question 9(a), by _________ [no later
             than one month before the date in paragraph 8(a), i.e., the completion of all fact
             discovery] the parties shall meet and confer on a schedule for expert disclosures,
             including reports, production of underlying documents and depositions, provided
             that (i) expert report(s) of the party with the burden of proof shall be due before
             those of the opposing party’s expert(s); and (ii) all expert discovery shall be
             completed by the date set forth in paragraph 9(b).

10.   This case [is ______
                      X    / is not ______] to be tried to a jury.

11.   Counsel for the parties have conferred and their present best estimate of the length of trial
      is ______________________.
             3




                                                3
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12.    Other issues to be addressed at the Initial Pretrial Conference, including those set forth in
       Fed. R. Civ. P. 26(f)(3), are set forth below:
        Given the anticipated jurisdictional motion to dismiss, the Defendants proposed
       __________________________________________________________________
       __________________________________________________________________
        the foregoing dates.
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________
       __________________________________________________________________

13.    Status Letters and Conferences

       a.     By ___________ [60 days after the commencement of fact discovery], the parties
              shall submit a joint status letter, as outlined in Individual Rule III.D.3.

       b.      By ________ [14 days after the close of fact discovery], the parties shall submit a joint
               status letter, as outlined in Individual Rule III.D.3 and, in the event that they have not
               already been referred for settlement discussions, shall also advise the Court whether or not
               they request a referral for settlement discussions as provided in Paragraph 4(c) above.


       c.     On _______________ at ______A.M. [usually 14 days after the close of all
              discovery], a pre-motion conference will be held for any anticipated dispositive
              motions, provided:

                   i. A party wishing to file a summary judgment or other dispositive motion
                      shall file a pre-motion letter at least two weeks before the conference and
                      in the form provided in the Court’s Individual Rule III.A.1. Any party
                      wishing to oppose shall file a responsive letter as provided in the same
                      Individual Rule. The motion will be discussed at the conference. To join
                      the conference, the parties shall call (888) 363-4749 and use Access Code
                      558-3333. The time of the conference is approximate, but the parties shall
                      be ready to proceed at that time.

                  ii. If no pre-motion letter is timely filed, this conference will be canceled
                      and the matter placed on the Court’s trial-ready calendar. The parties
                      will be notified of the assigned trial-ready date and the filing deadlines for
                      pretrial submissions. The parties are warned that any settlement
                      discussions will not stay pretrial deadlines or the trial date.

        This Order may not be modified or the dates herein extended, except as provided in
paragraph 8(g) or by further Order of this Court for good cause shown. Any application to
modify or extend the dates herein, except as provided in paragraph 8(g), shall be made in a
written application in accordance with the Court’s Individual Rules and shall be made no less
than 2 business days prior to the expiration of the date sought to be extended.



                                                 4
        Case 1:23-cv-02660-LGS Document 17 Filed 05/23/23 Page 14 of 14




        Notwithstanding any other rules governing discovery or other deadlines, the parties shall
follow the deadlines set forth herein unless expressly ordered otherwise by the Court.

        The Clerk of Court is directed to enter the dates under paragraphs 5, 6, 8(a), 9(b)-(c) and
13(a)-(c) into the Court’s calendar, and to schedule the conference under paragraph 13(c) as a
Pre-Motion Conference, even though the conference will be held by telephone.



       SO ORDERED.


Dated: _________________
       New York, New York
                                                      ____________________________________
                                                             LORNA G. SCHOFIELD
                                                            United States District Judge

Counsel for the Parties:


_________________________________                     _________________________________


_________________________________                     _________________________________

_________________________________                     _________________________________




                                                 5
